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 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )   Case No. CR-S-06-441 GEB
                                      )
12             Plaintiff,             )   GOVERNMENT’S MOTION TO DISMISS THE
                                      )   SUPERSEDING INDICTMENT AS TO
13        v.                          )   DEFENDANT VALERIE WHITE
                                      )
14   VALERIE WHITE,                   )
                                      )
15                                    )
               Defendant.             )
16                                    )
17
          The United States of America, through its attorneys of record,
18
     Assistant U.S. Attorney Jill Thomas, hereby moves for an order
19
     dismissing the superseding indictment, specifically Counts Two,
20
     Three, Four, Eighteen, and Nineteen through Twenty-Two, against
21
     defendant Valerie WHITE pursuant to Federal Rule of Criminal
22
     Procedure 48(a).
23
          Background
24
          On May 28, 2008, a Sacramento federal Grand Jury returned an
25
     superseding indictment against defendant Valerie WHITE along with
26
     other defendants in a case related to conspiracy to possess with
27
     intent to distribute and to distribute controlled substances in
28

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 1   violation of 21 U.S.C. §§ 841(a)(1) and 846 and money laundering in
 2   violation of 18 U.S.C. § 1956.
 3        During the subsequent investigation since the superseding
 4   indictment, the government obtained potentially exculpatory
 5   information related to the case pending against Valerie WHITE.        This
 6   resulted in the government’s belief that insufficient evidence exists
 7   to sustain a conviction concerning defendant Valerie WHITE, who was
 8   not detained pretrial.
 9        Based on the above, the undersigned hereby moves to dismiss with
10   prejudice Counts Two, Three, Four, Eighteen, Nineteen through Twenty-
11   Two, against defendant Valerie WHITE in Case No. CR-S-06-441 GEB in
12   the interests of justice pursuant to Rule 48(a).
13
14                                        Respectfully Submitted,
15                                        BENJAMIN B. WAGNER
                                          United States Attorney
16
17   DATED:   March 25, 2011          By:/s/ Jill Thomas
                                         JILL M. THOMAS
18                                       Assistant U.S. Attorney
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                        IN THE UNITED STATES DISTRICT COURT
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                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,        )     Case No. CR-S-06-441 GEB
12                                    )
                 Plaintiff,           )
13                                    )     ORDER DISMISSING THE SUPERSEDING
          v.                          )     INDICTMENT AGAINST DEFENDANT
14                                    )     VALERIE WHITE
     VALERIE WHITE,                   )
15                                    )
                                      )
16               Defendant.           )
                                      )
17                                        ORDER
18        For the reasons set forth in the motion to dismiss filed by the
19   United States, IT IS HEREBY ORDERED that:
20        1.     Counts Two, Three, Four, Eighteen, and Nineteen through
21   Twenty-Two, in Case No. CR-S-06-441 GEB, as to defendant Valerie
22   WHITE is hereby DISMISSED pursuant to Federal Rule of Criminal
23   Procedure 48(a) with prejudice.
24   Dated:    March 25, 2011
25
26                                    GARLAND E. BURRELL, JR.
27                                    United States District Judge

28
